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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


ROSSY AZCONA, on behalf of herself and all              Civil Case Number: _____________
others similarly situated,

                     Plaintiff(s),                                CIVIL ACTION

                                                      CLASS ACTION COMPLAINT AND
                   -against-                            DEMAND FOR JURY TRIAL

FIRST NATIONAL COLLECTION BUREAU,
INC.; CACH, LLC,

                     Defendant(s).


                        LOCAL CIVIL RULE 10.1 STATEMENT

      1.     The mailing addresses of the parties to this action are:

             ROSSY AZCONA
             24 Fritz Street
             Bloomfield, New Jersey 07003

             FIRST NATIONAL COLLECTION BUREAU, INC.
             50 W. Liberty Street
             Suite 250
             Reno, Nevada 89501

             CACH, LLC
             55 Beattie Place
             Greenville, South Carolina 29601


                               PRELIMINARY STATEMENT

      2.     Plaintiff on behalf of herself and all others similarly situated (“Plaintiff”), by and

through her attorneys, alleges that Defendants, FIRST NATIONAL COLLECTION BUREAU,

INC. (“FNCB”); CACH, LLC (“CACH”) and JOHN DOES 1-25, their employees, agents and

successors (collectively “Defendants”) violated 15 U.S.C. § 1692 et seq., the Fair Debt

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Collection Practices Act (hereinafter “FDCPA”), which prohibits debt collectors from engaging

in abusive, deceptive and unfair practices.

                                 JURISDICTION AND VENUE

         3.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331. This is

an action for violations of 15 U.S.C. § 1692 et seq.

         4.      Venue is proper in this district under 28 U.S.C. §1391(b) and 15 U.S.C. §

1692k(d) because the acts of the Defendant that give rise to this action, occurred in substantial

part, in this district.

                                             DEFINITIONS

         5.      As used in this complaint, the terms “creditor,” “consumer,” “debt” and “debt

collector” are defined at 15 U.S.C. § 1692a.

                                              PARTIES

         6.      Plaintiff is a natural person, a resident of Essex County, New Jersey and is a

“Consumer” as defined by 15 U.S.C. § 1692a(3).

         7.      FNCB maintains a location at 50 W. Liberty Street, Suite 250, Reno, Nevada

89501.

         8.      CACH maintains a location at 55 Beattie Drive, Greenville, South Carolina

29601.

         9.      FNCB uses the instrumentalities of interstate commerce or the mails to engage in

the principal business of collecting debt and/or to regularly engage in the collection or attempt to

collect debt asserted to be due or owed to another.

         10.     CACH uses the instrumentalities of interstate commerce or the mails to engage in

the principal business of collecting debt.



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       11.     FNCB is a “Debt Collector” as that term is defined by 15 U.S.C. § 1692(a)(6).

       12.     CACH is a “Debt Collector” as that term is defined by 15 U.S.C. § 1692(a)(6).

       13.     John Does 1-25, are currently unknown Defendants whose identities will be

obtained in discovery and at that time will be made parties to this action pursuant to the Federal

Rules of Civil Procedure (hereinafter “FRCP”); Rule 15, Rule 20 and Rule 21. Plaintiff’s claims

against the currently unknown Defendants arise out of the same transaction, occurrence or series

of transactions arising from known Defendant’s actions and are due to common questions of law

and fact whose joinder will promote litigation and judicial efficiency.

                               CLASS ACTION ALLEGATIONS

       14.     Plaintiff brings this action as a state-wide class action, pursuant to Rule 23 of the

FRCP, on behalf of herself and all New Jersey consumers and their successors in interest (the

“Class”), who were sent debt collection letters and/or notices from the Defendant, in violation of

the FDCPA, as described in this Complaint.

       15.     This Action is properly maintained as a class action. The Class is initially defined

as:

                   All New Jersey consumers who were sent letters and/or
                   notices from FNCB concerning a debt owned by CACH
                   (See Exhibit A), which included the alleged conduct
                   and practices described herein.

                   The class definition may be subsequently modified or
                   refined.

                   The Class period begins one year prior to the filing of
                   this Action.

       16.     The Class satisfies all the requirements of Rule 23 of the FRCP for maintaining a

               class action:




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              a. Numerosity: The Class is so numerous that joinder of all members is

                 impracticable because there are hundreds and/or thousands of persons who

                 were sent debt collection letters and/or notices from the Defendant(s) that

                 violate specific provisions of the FDCPA. Plaintiff is complaining about a

                 standard form letter and/or notice that was sent to at least fifty (50)

                 persons (See Exhibit A). The undersigned has, in accordance with FRCP

                 Rule 5.2, redacted the financial account numbers and/or personal

                 identifiers in said letter.

              b. Commonality: There are questions of law and fact common to the class

                 members which predominate over questions affecting any individual Class

                 member.       These common questions of law and fact include, without

                 limitation:

                 i.      Whether the Defendants violated various provisions of the FDCPA

                         as set forth herein:

                 ii.     Whether Plaintiff and the Class have been injured by the

                         Defendants' conduct;

                 iii.    Whether Plaintiff and the Class have sustained damages and are

                         entitled to restitution as a result of Defendants' wrongdoing and if

                         so, what is the proper measure and appropriate statutory formula to

                         be applied in determining such damages and restitution; and

                 iv.     Whether Plaintiff and the Class are entitled to declaratory relief.

              c. Typicality: Plaintiff’s claims are typical of the Class, which all arise from

                 the same operative facts and are based on the same legal theories.



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                     d. Adequacy of Representation: Plaintiff has no interest adverse or

                        antagonistic to the interest of the other members of the Class. Plaintiff will

                        fairly and adequately protect the interest of the Class and has retained

                        experienced and competent attorneys to represent the Class.

        17.     A Class Action is superior to other methods for the fair and efficient adjudication

of the claims herein asserted. Plaintiff anticipates no unusual difficulties in the management of

this class action.

        18.     A Class Action will permit large numbers of similarly situated persons to

prosecute their common claims in a single forum simultaneously and without the duplication of

effort and expense that numerous individual actions would engender. Class treatment will also

permit the adjudication of relatively small claims by many Class members who could not

otherwise afford to seek legal redress for the wrongs complained of herein. Absent a Class

Action, class members will continue to suffer losses of statutory protected rights as well as

damages.

        19.     Defendant(s) have acted on grounds generally applicable to the entire Class,

thereby making appropriate final relief with respect to the Class as a whole.

                                    STATEMENT OF FACTS

        20.     Plaintiff is at all times to this lawsuit, a "consumer" as that term is defined by 15

U.S.C. § 1692a(3).

        21.     At some time prior to June 28, 2021, Plaintiff allegedly incurred a financial

obligation to GE MONEY RETAIL BANK (“GE MONEY”).




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       22.      The GE MONEY obligation arose out of a transaction, in which money, property,

insurance or services, which are the subject of the transaction, are primarily for personal, family

or household purposes.

       23.      Plaintiff incurred the GE MONEY obligation by obtaining goods and services

which were primarily for personal, family and household purposes.

       24.      The GE MONEY obligation did not arise out of a transaction that was for non-

personal use.

       25.      The GE MONEY obligation did not arise out of a transaction that was for

business use.

       26.      The GE MONEY obligation is a "debt" as defined by 15 U.S.C. § 1692a(5).

       27.      GE MONEY is a "creditor" as defined by 15 U.S.C. § 1692a(4).

       28.      Upon information and belief, at some time prior to June 28, 2021, the GE

MONEY obligation was allegedly purchased by and/or sold to CACH OF NEW JERSEY, LLC

(“CACH OF NJ”).

       29.      At the time the GE MONEY obligation was allegedly purchased by and/or sold to

CACH OF NJ, the obligation was in default.

       30.      The principal purpose of CACH OF NJ is the collection of debts which are in

default at the time it purchases the debts.

       31.      On or about July 15, 2009, CACH OF NJ obtained a judgment against Plaintiff

for the GE MONEY obligation in the Superior Court of New Jersey, Essex County, Special Civil

Part, Docket No.: DC-016764-14.

       32.      At the time that CACH OF NJ obtained the judgment against Plaintiff, it was

represented by the law firm of Calef & Associates.



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         33.    The judgment obtained against Plaintiff for the GE MONEY obligation was

calculated as follows:

         Judgment Awarded:            $1,621.65
         Court Costs:                    $64.00
         Statutory Attorney Fees:        $47.43
         Judgment Total:              $1,733.08

         34.    The Attorney Fee assessed on the judgment in the amount of $47.43 was done so

in accordance with N.J.S.A. 22A:2-42: "There shall be taxed by the clerk of the Superior Court,

Law Division, Special Civil Part in the costs against the judgment debtor, a fee to the attorney of

the prevailing party, of five per centum (5%) of the first five hundred dollars ($500.00) of the

judgment, and two per centum (2%) of any excess thereof." (“STATUTORY ATTORNEY

FEE”).

         35.    At some time after June 28, 2021, the GE MONEY obligation was allegedly

purchased by and/or sold to CACH.

         36.    The principal purpose of CACH is the collection of debts which are in default at

the time it purchases the debts.

         37.    CACH has obtained a license and/or has registered as a collection agency and/or

as a debt collector with at least one State and/or State department or agency within the United

States within the relevant period.

         38.    Sometime after June 28, 2021, CACH referred the GE MONEY obligation to

FNCB for the purpose of collection.

         39.    In an attempt to collect on the judgment, Defendants caused to be delivered to

Plaintiff a letter dated June 28, 2021, which was addressed to Plaintiff. A copy of said letter is

annexed hereto as Exhibit A, which is fully incorporated herein by reference.




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       40.     The June 28, 2021 letter was sent to Plaintiff in connection with the collection of

the GE MONEY obligation.

       41.     The June 28, 2021 letter is a “communication” as defined by 15 U.S.C. §

1692a(2).

       42.     The June 28, 2021 letter was the initial written communication that Plaintiff

received from Defendant.

       43.     No other written communication was received by Plaintiff from Defendant within

five days of the June 28, 2021 letter.

       44.     Upon receipt, Plaintiff read the June 28, 2021 letter.

       45.     The June 28, 2021 letter provides the following information regarding the balance

claimed due on the GE MONEY obligation:

               Principal:                $1,733.08
               Interest:                   $48.96
               Current Balance:          $1,782.04

       46.     The amount sought by Defendants as of June 28, 2021, included the

STATUTORY ATTORNEY FEE assessed on the judgment in the amount of $47.43.

       47.     The STATUTORY ATTORNEY FEE assessed pursuant to N.J.S.A. 22A:2-42 “is

tied to the successful prosecution of suit in the county district court, and is payable directly to

the attorney. As a taxed cost of litigation, it is in the nature of a statutorily authorized penalty

against the judgment debtor, saddling him with the burden of compensating the creditor's

attorney for the latter's litigational duties.” See Scioli v. Goldman & Warshaw, PC, 651 F.Supp.

2d 273 (D.N.J. 2009) (emphasis added).

       48.     Within one year of the complaint, Defendants made demands for payment from

Plaintiff which included an amount for the STATUTORY ATTORNEY FEE.



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       49.     Within one year of the complaint, Defendants asserted that the STATUTORY

ATTORNEY FEE was owed to CACH directly.

       50.     The STATUTORY ATTORNEY FEE is not owed to CACH nor is it the property

of CACH. See Scioli v. Goldman & Warshaw, PC, 651 F.Supp. 2d 273 (D.N.J. 2009).

       51.     The STATUTORY ATTORNEY FEE is owed to and is the property of the

creditor’s attorney and not the creditor.

       52.     The June 28, 2021 letter does not advise that the GE MONEY obligation was

subject to increase by court cost and/or fees.

       53.     The June 28, 2021 letter did not itemize or breakdown the amount of the debt by

attorney fees, other costs and/or credits.

       54.     FNCB knew or should have known that its actions violated the FDCPA.

       55.     CACH knew or should have known that its actions violated the FDCPA.

       56.     Defendants could have taken the steps necessary to bring their actions within

compliance with the FDCPA, but neglected to do so and failed to adequately review its actions to

ensure compliance with the law.

                          POLICIES AND PRACTICES COMPLAINED OF

       57.     It is Defendants' policy and practice to send written collection communications, in

the form annexed hereto as Exhibit A, which violate the FDCPA, by inter alia:

               (a)     Using false, deceptive or misleading representations or means in
                       connection with the collection of a debt; and

               (b)     Threatening to take any action that cannot legally be taken or that is not
                       intended to be taken;

               (c)     Using unfair or unconscionable means to collect or attempt to collect any
                       debt;

               (d)     Making a false representation of the character or amount of the debt; and

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                (e)      Failing to effectively convey the amount of the debt.

        58.     Defendants have sent written communications in the form annexed hereto as

Exhibit A, to at least 50 natural persons in the state of New Jersey within one year of this

Complaint.

                                                COUNT I

                      FAIR DEBT COLLECTION PRACTICES ACT, 15 U.S.C. §
                                  1692 et seq. VIOLATIONS

        59.     Plaintiff, on behalf of herself and others similarly situated, repeats and realleges all

prior allegations as if set forth at length herein.

        60.     Collection letters and/or notices, such as those sent by Defendants, are to be

evaluated by the objective standard of the hypothetical “least sophisticated consumer.”

        61.     The form, layout and content of Defendant’s letter would cause the least

sophisticated consumer to be confused about his or her rights.

        62.     Defendants’ attempt to collect the alleged debt as described herein violated

various provisions of the FDCPA including but not limited to:                15 U.S.C. § 1692e; §

1692e(2)(A); § 1692e(5); § 1692e(10) and § 1692g(a)(1).

        63.     Defendants’ attempt to collect the alleged debt without first effectively conveying

the amount of the debt violated various provisions of the FDCPA including but not limited to:

15 U.S.C. § 1692e; § 1692e(2)(A); § 1692e(10); and § 1692g(a)(1).

        64.     Defendants’ improper demand for a STATUTORY ATTORNEY FEE violated

various provisions of the FDCPA including but not limited to:                15 U.S.C. § 1692e; §

1692e(2)(A); § 1692e(5); and § 1692e(10).




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       65.     Defendants violated 15 U.S.C. § 1692e of the FDCPA by using any false,

deceptive or misleading representation or means in connection with their attempts to collect

debts from Plaintiff and others similarly situated.

       66.     Defendants violated 15 U.S.C. § 1692e of the FDCPA in connection with their

communications to Plaintiff and others similarly situated.

       67.     Defendants violated 15 U.S.C. § 1692e of the FDCPA by not disclosing that the

amount allegedly due on the GE MONEY obligation included an amount for attorney fees, other

costs and/or charges.

       68.     Defendants violated 15 U.S.C. § 1692e of the FDCPA by falsely representing that

CACH was owed a STATUTORY ATTORNEY FEE.

       69.     Defendant’s false, misleading and deceptive statement(s) is material to the least

sophisticated consumer.

       70.     15 U.S.C. § 1692e(2)(A) of the FDCPA prohibits a debt collector from making a

false representation of the character, amount or legal status of a debt.

       71.     Defendants violated 15 U.S.C. § 1692e(2)(A) by making false representations of

the character, amount or legal status of a debt.

       72.     Defendants violated 15 U.S.C. § 1692e(2)(A) by including a STATUTORY

ATTORNEY FEE in any amount demanded from Plaintiff.

       73.     Defendants violated 15 U.S.C. § 1692e(2)(A) by including a STATUTORY

ATTORNEY FEE in any amount demanded from Plaintiff as that fee was not due CACH, but

rather was due and payable directly to the attorney obtaining the judgment.

       74.     15 U.S.C. § 1692e(5) of the FDCPA prohibits a debt collector from threatening to

take any action that cannot legally be taken or that is not intended to be taken.



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       75.     Defendants violated 15 U.S.C. § 1692e(5) by including a STATUTORY

ATTORNEY FEE in any amount demanded from Plaintiff as that fee was not due CACH, but

rather was due and payable directly to the attorney obtaining the judgment.

       76.     15 U.S.C. § 1692e(10) prohibits the use of any false representation or deceptive

means to collect or attempt to collect any debt.

       77.     Defendants violated 15 U.S.C. § 1692e(10) by including a STATUTORY

ATTORNEY FEE in any amount demanded from Plaintiff as that fee was not due CACH, but

rather was due and payable directly to the attorney obtaining the judgment.

       78.     15 U.S.C. § 1692g(a)(1) of the FDCPA requires that the debt collector effectively

convey the amount of the debt.

       79.     Defendants violated 15 U.S.C. § 1692g(a)(1) by failing to fully itemize the

components that comprised the amount of the debt.

       80.     Defendants violated 15 U.S.C. § 1692g(a)(1) by failing to provide a itemization of

the obligation by attorney fees, other charges and/or credits.

       81.     Defendants violated 15 U.S.C. § 1692g(a)(1) by failing to effectively convey the

amount of the debt.

       82.     Defendant FNCB is vicariously liable for any violations of the FDCPA that

CACH committed as described herein.

       83.     Defendant CACH is vicariously liable for any violations of the FDCPA that

FNCB committed as described herein. See Fox v. Citicorp Credit Services, Inc., 15 F.3d 1507

(9th Cir. 1994); Pollice v. National Tax Funding, L.P., 225 F.3d 379 (3d Cir. 2000).

       84.     Congress enacted the FDCPA in part to eliminate abusive debt collection

practices by debt collectors.



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       85.     Plaintiff and others similarly situated have a right to be free from abusive debt

collection practices by debt collectors.

       86.     Plaintiff and others similarly situated have a right to receive proper notices

mandated by the FDCPA.

       87.     Plaintiff and others similarly situated were sent letters, which could have affected

their decision-making with regard to the debt.

       88.     Plaintiff and others similarly situated have suffered harm as a direct result of the

abusive, deceptive and unfair collection practices described herein.

       89.     Plaintiff has suffered damages and other harm as a direct result of Defendants

actions, conduct, omissions and violations of the FDCPA described herein.

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

               (a)     Declaring that this action is properly maintainable as a Class Action and

certifying Plaintiff as Class representative and her attorneys as Class Counsel;

               (b)     Awarding Plaintiff and the Class statutory damages;

               (c)     Awarding Plaintiff and the Class actual damages, including but not limited

to a disgorgement of all money collected during the relevant period;

               (d)     Awarding pre-judgment interest;

               (e)     Awarding post-judgment interest.

               (f)     Awarding Plaintiff costs of this Action, including reasonable attorneys'

fees and expenses; and

              (g)    Awarding Plaintiff and the Class such other and further relief as the Court
may deem just and proper.




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                                 DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

trial by jury on all issues so triable.

Dated: July 25, 2021                                  Respectfully submitted,

                                              By:     s/ Joseph K. Jones
                                                      Joseph K. Jones, Esq. (JJ5509)
                                                      JONES, CHULSKY & KESSLER, LLC
                                                      330 Mounts Corner Drive, Suite 417
                                                      Freehold, NJ 07728
                                                      Phone: (877) 827-3395
                                                      Fax: (877) 827-3394
                                                      Attorneys for Plaintiff




                        CERTIFICATION PURSUANT TO LOCAL RULE 11.2

        I, hereby certify that the matter in controversy is not the subject of any other court,

arbitration or administrative proceeding.

Dated: July 25, 2021
                                                      s/ Joseph K. Jones
                                                      Joseph K. Jones, Esq. (JJ5509)
                                                      JONES, CHULSKY & KESSLER, LLC
                                                      330 Mounts Corner Drive, Suite 417
                                                      Freehold, NJ 07728
                                                      Phone: (877) 827-3395
                                                      Fax: (877) 827-3394
                                                      Attorneys for Plaintiff




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             EXHIBIT

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